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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION




   THOMAS A. RODGERS,

         Plaintiff,

   v.                                              CASE NO. 8:17-cv-1809-T-23TGW

   CITIBANK N.A.,

         Defendant.
   ____________________________________/


                                        ORDER

         In accord with the parties’ stipulation (Doc. 14), this action is DISMISSED

   WITH PREJUDICE.

         ORDERED in Tampa, Florida, on December 1, 2017.
